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                     THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
                       ___________________________________

THE UNITED STATES OF AMERICA,
                                                    Case No. 1:20-CR-183
             Plaintiff,
                                                    Hon. Robert J. Jonker
v.                                                  U.S. District Court Judge

KALEB FRANKS,

             Defendant.


          DEFENDANT’S SENTENCING MEMORANDUM AND
        MEMORANDUM IN SUPPORT OF DOWNWARD VARIANCE


      After two years of allegations, accusations, disputes, objections, and media

exposure, this case is finally winding down for defendant Mr. Kaleb Franks. With

sentencing anticipated on October 6, 2022, at 4:00 p.m., Mr. Franks, though his

attorney Scott Graham, offers this sentencing memo for the Court’s consideration and

in support of his motion for a downward variance, which he now makes.

      For this discussion, counsel has broken out of the more traditional sentencing-

memo approach. He has eschewed an enumeration of the sentencing factors under 18

U.S.C. § 3553(a). Indeed, maybe some frustrated novelist—or even philosopher—in

him has caused him to let his prose wander farther than it usually would . . . but

perhaps this liberality makes some sense here, where the Court knows so very well

almost every facet of this case and hardly needs counsel to highlight jurisprudential

concerns or procedural details. The Court, of course, has sat through two trials, heard
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Mr. Franks testify twice, imposed sentence on one codefendant already, lowered that

sentence already, and considered an extraordinary number of pre- and post-trial

motions. Again, the Court hardly needs a “procedural-background” summation from

counsel. Yet perhaps a return—briefly—to fundamentals could prove helpful: on

October 6, 2020, the government accused six men, including Mr. Franks, of plotting

to kidnap this state’s governor. See RE. 1: Complaint, PageID # 1-2.

      At any time, such allegations would undoubtedly set off a political and media

feeding frenzy. In an election year, with the country at loggerheads of such

proportions as to bring to mind high-school history like that of the caning of Senator

Charles Sumner in the Senate in 1856, the not-merely-figurative hue and cry rose to

almost deafening levels. People across the political spectrum shouted, the media

rattled their mightier-than-the-sword pens, and counsel on both sides of this case

dove into an electronic abyss of discovery . . . all while Mr. Franks and his

codefendants sat in jail, speculating on, and awaiting delivery of, their fates.

      On December 16, 2020, the government filed its indictment, charging Mr.

Franks and his codefendants with a kidnapping conspiracy. See RE. 86: Indictment,

PageID # 573-78. Trial preparations ratcheted up and emotions rose concomitantly.

Then on January 27, 2021, Ty Garbin pleaded guilty to the charge. See RE. 143:

Minutes of Garbin Change of Plea, PageID # 759. A superseding indictment followed

on April 28, 2021, charging the remaining defendants with the conspiracy and adding

weapons charges for some of the codefendants. See RE. 172: Superseding Indictment,

PageID # 961-76. The media took an active role in the case. See, e.g., RE. 210: Motion


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to Compel Access, PageID # 1117-18. Pretrial motions rained down upon the

electronic filing system. And Mr. Franks continued to sit in jail, alone and confused

and slightly more than a little anxious.

      Mr. Garbin received a sentence of seventy-five months on August 25, 2021. See

RE. 294: Minutes of Garbin Sentencing, PageID # 1718. Not long after that, the case

celebrated its one-year anniversary. The holiday season brought Christmas lights,

motions in limine, and even a motion to strike. January glowed with more motions,

and then on February 7, 2022, another plea agreement appeared on the docket: Mr.

Franks’s plea agreement. See RE. 445: Plea Agreement, PageID # 3115-33. With that

filing, everything changed for Mr. Franks.

      With that filing, Mr. Franks felt a weight lift. With that filing, Mr. Franks’s

anxiety rose even more, but he also felt his world stabilize a little. He was coming

clean. And while one might believe that this plea agreement ended Mr. Franks’s

dreams of marrying his fiancée and living “happily ever after,” of owning outright the

home he’d so proudly bought and financed (using nearly all his resources) and begun

furnishing around 2018, of staying fit and healthy, of helping others through his

career as an addiction counselor/peer recovery coach working with a state circuit

court, of perhaps even becoming a father, this idea of these dreams ending would be

misplaced.

      The truth is that these dreams ended in the late summer of 2020 when Mr.

Franks lost what he truly believed was everything in his life. Kaleb once again in his

young life stands before a court, this time convicted, through his own guilty plea, of


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conspiring to kidnap Michigan’s governor, a violation of 18 U.S.C. § 1201(c). See, e.g.,

RE. 762: Final PSIR, PageID # 10014. He’s twenty-eight years old and, for a second

time in his twenty-some years, at a sort of rock bottom. Once, during his custody in

this matter, in the summer of 2021, Mr. Franks even lapsed into drug abuse again (a

huge misstep for someone so committed to his ongoing recovery), using suboxone. See

RE. 762: Final PSIR, PageID # 10020, ¶ 17. So Mr. Franks’s dreams burned away

before he entered his guilty plea. They burned away when he fell into depression and

hopelessness, fueled by mental health struggles, in the summer of 2020. Or at least

he felt they did.

      In fact, entering his plea actually rebooted his focus on recovery and

redemption. It realigned his commitment to restoring himself and returning to his

core values of family, community, and self-betterment.

      The proverbial elephant in this proverbial sentencing room, of course, is then:

how does a young man, who has unequivocally made himself into the poster child for

criminal-justice success stories, who has turned addiction and drug abuse into a story

of healing and even giving back to others, who has overcome childhood trauma and

significant family loss—how does such a person find himself on the wrong side of

some sort of anarchist/revolutionary squad of misfits and malcontents? Perhaps

counsel’s answer is too simple to sound anything but naïve and facile, but he will put

it out there anyway: those misfits and malcontents gave Mr. Franks the family—the

father, uncle, older brother . . . the role model . . . the purpose he’d never found in




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“real life.” Ty Garbin’s sentencing video touched on the magnetism of groups like the

Wolverine Watchmen, especially for young people searching for a place to “belong.”

       A look at Mr. Franks’s cooperation may help explain counsel’s position. On

February 3, 2022, shortly before entering his guilty plea, Mr. Franks sat down with

authorities and made a clean breast of it. See, e.g., RE. 762: Final PSIR, PageID #

10034, ¶ 78. (Mr. Franks has also assisted state authorities. On August 2, 2022, he

talked to prosecutors about the Jackson County case. And as the government explains

in its sentencing memo, and as the Court knows so well, and as touched on at the

start of this memo, Kaleb actually testified at two federal trials, following the first

trial’s hung jury. See RE. 764: Gov. Sent. Memo, PageID # 10072-73.) Kaleb explained

his enjoyment of marksmanship and his appreciation of firearms, and how a friend

took him to a Black Lives Matter rally and he met some of the Wolverine Watchmen,

who appeared to just be other firearm enthusiasts. He got involved in electronic chats

with his new acquaintances and then participated in some FTX events (field-training

exercises and events). Except then things started spiraling: the group got more

militant, and Mr. Franks became closer and closer to group “leaders” like Dan

Chappel, who was (as has been chewed on so thoroughly in this case) actually a

government informant (Mr. Franks saw Dan as larger than life, as a role model, as a

father figure, and as a military “leader” and “hero” of sorts—one might, without

hitting the hyperbole wall, even say Mr. Franks idolized Dan).1


1 Counsel has debated with himself about how much psychological and social literature to cite here.

While that literature provides some helpful background, counsel wants to keep Kaleb Franks—the
complicated, kind, confused, intelligent, vulnerable, forgiving, impressionable, young, unassuming,
sensitive human being who has faced trauma and abuse, who has vanquished drug abuse, and who
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       People like Dan were starting to fill the gaping holes in Mr. Franks’s life, the

holes left by the deaths of his stepbrother, second stepfather, and mother in 2014,

2016, and 2018, respectively. (Kaleb has repeatedly affirmed how much he looked up

to Dan, telling undersigned counsel, a defense paralegal, a defense investigator, and

a defense psychologist how much he thought of Dan and Dan’s skills and perceived

accomplishments. He didn’t want to disappoint Dan.) But these people couldn’t fill

the holes completely, and Mr. Franks continued to struggle with suicidal ideations

that sprang, at least in part, from feelings of loneliness, isolation, and hopelessness.

       One can hardly wonder at these mental-health struggles. Besides the loss of so

many people close to him, he had grown up with alcoholic parents and adults around

him; a violent first stepfather who abused drugs, alcohol, and everyone around him;

older siblings and stepsiblings who abused drugs, partied, and got Kaleb involved in



has already started over from scratch once—front and center. But counsel would still point the Court
toward certain literature for enlightening reading, including Adeno Addis’s “Role Models and the
Politics of Recognition” in the University of Pennsylvania’s Law Review in 1996, which discusses the
concept of role model and distinguishes between role models, mentors, and heroes. In Mr. Franks’s
case, Dan filled all three roles: he functioned as a personal, involved mentor for Mr. Franks and as a
more impersonal, aloof, aspirational role model (yet could still be admired) and as an admirable
hero. See Adeno Addis, Role Models and the Politics of Recognition, 144 U. Pa. L. Rev. 1377, 1389-90
(1996). In this context, one should not fail to discuss the sometimes coercive power of role models—or
the vulnerability of those who follow them. See id. at 1394. Nor should one overlook the idea that role
models figure in the “politics of recognition.” See id. at 1410 (discussing role models in the context of
race and gender). While Mr. Franks may have been a “nobody,” a former drug addict, a guy
financially stretched, a kid searching for meaning in his life, with Dan (and indirectly, through the
government’s own efforts coming through Dan as a government agent within the group) Kaleb could
see people like himself enjoying recognition and notoriety. He could see a path toward some measure
of “success” (being skilled with firearms, having outdoor survival skills, gaining the admiration of
friends) for a person like himself. Dan was a “reference individual” for all of the guys involved in this
case. See id. at 1411 (discussing scholarship on “reference individuals”). Kaleb identified with Dan
and sought “to approximate the behavior and values” of Dan “in his several roles.” See id. (citation
omitted). And their relationship absolutely involved an “authority-vulnerability social nexus,” with
Dan placed in an authority role by the government (and the Watchmen), and Kaleb being extremely
vulnerable because of his history of childhood trauma and his personality issues. See id. (discussing
nexus).

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drugs; and the presence of law enforcement, who had to come when his first

stepfather would beat his mother. When his first stepfather left, Kaleb and his family

found themselves homeless. They lived with unsanitary hoarders, often went hungry,

and spent a year without heat, even in the winter.2

       With this family history, Mr. Franks’s criminal history seems less than

remarkable. As a teen, he possessed alcohol, tried to shoplift from a Walmart, abused

drugs, and stole a piggy bank from his step-uncle’s home. Once he got clean and sober,

he clawed his way up from these depths, ensured he enjoyed the right to possess a

firearm, and took up marksmanship, fitness, and motorcycles as recreation. He

worked as an addictions counselor/peer recovery coach and even volunteered in a

similar role. He wanted to find his version of the American dream, with a home, some

financial stability, a loving fiancée, and a chance to help others in his community.

Basically, he did everything right.

       But he was still vulnerable, still lacking something to make himself whole. And

he thought he had found that something in the subculture of firearms and training .

. . in the social support of the Wolverine Watchmen. He wasn’t a leader among these

guys. He was always a follower, always “going along”—because “going along” was




2 This kind of trauma cannot help but change a person. It literally alters the brain. See, e.g., Joan

Luby, et al., The Effects of Poverty on Childhood Brain Development: The Mediating Effect of
Caregiving and Stressful Life Events, 167 JAMA Pediatrics 1135, 1141 (2013) (“The finding that
experiences of stressful life events also mediated the relationship between poverty and left
hippocampal volume is consistent with the extensive body of animal data that have elucidated the
negative effects of early stress on hypothalamic-pituitary-adrenal function and hippocampal
volume.”).

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what his childhood had trained him to do. Again, as the PSIR details, Kaleb was a

minor participant in all this. See, e.g., RE. 762: Final PSIR, PageID # 10037, ¶ 93.

        The government recognizes some of the vulnerabilities and emotional

complexities here. Its sentencing memo affirms, “While he [Mr. Franks] accumulated

some criminal history, it mostly involved property crimes motivated by drug

addiction,” and “[a]t the time of the offense, Franks was 26 years old” while “Fox was

40, and Croft was (at 45) old enough to be Franks’ father.” RE. 764: Gov. Sent. Memo,

PageID # 10074-75. “Franks’ decision to accept responsibility and testify showed more

maturity than the older men who led him.” Id. at 10075. Even as a minor participant,

however, Kaleb’s guidelines are (unsurprisingly) quite high. As calculated in the

PSIR, he has an offense level of 33, a criminal-history category of II, and an advisory

range of 151 to 188 months. See RE. 762: Final PSIR, PageID # 10061.3

        As Mr. Franks looks outward, toward sentencing and even toward release from

custody, he shudders. He feels like he has abandoned his fiancée, left her alone to

struggle financially and emotionally. He feels he has shamed himself and tarnished

his family’s name and reputation. His family’s confusion and disappointment magnify

his consciousness of guilt. As someone who lost his stepbrother to a drug overdose,

lost his second stepfather to a heart attack, and lost his mother to a motorcycle

accident . . . as someone who suffered abuse at the hands of his first stepfather and

watched that man beat his mother . . . as someone who suffered privations and


3 Mr. Franks will not pursue his objection to the scoring of his criminal history. See, e.g., United

States v. Hill, 769 F. App`x 352, 354 (6th Cir. 2019) (finding that a guilty plea under HYTA
constitutes a “prior sentence” for purposes of calculating the advisory guidelines).

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homelessness as a kid when his mother got away from this abuse . . . well, as someone

like that, Mr. Franks is no stranger to confusion, disappointment, and shame. But

now those feelings are focused on him because of the terrible choices he knows he

made.

        He owns these choices. He recognizes he made them. This ownership and

recognition motivated him to enter his plea. But they don’t make the bitterness of his

own shame any more palatable. Mr. Franks only hopes that he can serve his time,

mend his relationships (especially with his fiancée, whom he still hopes to make a life

with), and launch himself afresh (for the second time in his young life—with his prior

drug convictions, he’s no stranger to having to repair relationships and remake a life)

somewhere new, like South Carolina.

        Counsel sees in Kaleb a guy who can probably make it happen—and a guy who

doesn’t seem to need a lot of time in prison to get himself together to make it happen.

A sentence similar to Ty Garbin’s could suffice. Following his testimony, Mr. Garbin

received a reduction in sentence and now faces only thirty months. See, e.g., RE. 757:

Order Reducing Garbin Sentence, PageID # 9963. As Mr. Franks’s PSIR points,

against this background of Mr. Garbin’s ultimate sentence, concerns surrounding the

potential for unwarranted sentencing disparity support a downward variance here.

See RE. 762: Final PSIR, PageID # 10058, ¶ 184.

        Giving Mr. Franks a sentence similar to Mr. Garbin’s won’t undermine ideas

about deterrence. First, Kaleb just wasn’t a leader here. Crafting a sentence to “deter”

him won’t stop people from forming groups like this one. He wasn’t catalyst for any


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of this. Second, as he testified to multiple times, his mental health served as the

impetus for his terrible decision making in the summer of 2020. See, e.g., RE. 600:

Excerpt of Franks Testimony, 3/25/22, PageID # 5703 (cross-examination regarding

mental-health struggles), 5785 (affirming suicidal ideations at time of participation

in trainings). Further counseling, support groups, and education will do far more for

Kaleb Franks than custody. Compare 28 U.S.C. § 994(k) (directing the Sentencing

Commission to craft guidelines that recognize “the inappropriateness of imposing a

sentence to a term of imprisonment for the purpose of rehabilitating the defendant or

providing the defendant with needed educational or vocational training, medical care,

or other correctional treatment”); see also Tapia v. United States, 564 U.S 319, 321

(2011) (the Supreme Court prohibits imprisonment for rehabilitative reasons).

      Mr. Franks is no stranger to therapy—either as a participant or as an advocate

and facilitator of therapeutic programs. He has participated in his own therapy

through programs at Meridian Health Services (where he later worked as a peer

recovery coach), Ascension Eastwood Behavioral Health, Maple Grove Center, and

elsewhere. Sadly, he had a terrible experience, when he was around fifteen or sixteen

years old, when a “therapist” became overtly suggestive and sexual with him. But

even as a kid faced with such inappropriate behavior from an authority figure, he

didn’t stop believing in the power of therapy, and his life has demonstrated his

commitment to counseling and personal growth.

      A defense psychologist has described Kaleb as (among other things)

“dependent.” This expert described Kaleb:


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      Characteristic of him is a need for praise, nurturance and security. He manifests a fear of
      autonomy that is likely to lead him to seek a responsive partner. He is likely to be naïve
      about problems in his life and to manifest shortsighted or scattered thinking. In an effort
      to meet his need for attention, he may be excessively accommodating and responsive to
      the needs of others, solicitating praise and tending to be entertaining to those around
      him. Noteworthy too is an effort to be in harmony with others. He demonstrates a
      preoccupation with the need for approval from those around him, something that may
      have left him without a clear sense of his own identity. In addition, he may feel inept
      when faced with responsibilities that demand competence and autonomy. The loss of
      significant support from others may cause confusion and acute distress and lead him to
      openly solicit reassurance and approval from others.

In short, Kaleb wants desperately to have the love, security, and assurance that he

never received as a child. In many ways, he started to think he could get some

semblance of these things—of acceptance, at least—in the Wolverine Watchmen.

Instead, all he got was chaos and pain. Those circumstances, however, have not

undercut his fundamental values, and he still remains a man committed to making

himself better, to making himself valuable to the community, to making himself

dependable.

                                        Conclusion

      Kaleb’s older half-sister Samantha calls her little brother “a follower.”

According to her, he’s “100% a people follower.” Tragically, he followed the wrong

people here. He did not lead them. He masterminded nothing. He simply went looking

for community . . . and, later (while in a suicidal spiral), for a means to end the pain

he was suffering emotionally. This background isn’t offered as an excuse but rather

only as explanation. Contrary to what a wounded, confused, spiraling-out-of-control

Kaleb felt in 2020, Kaleb Franks still enjoys a lot of support: from his sister, from

long-time friends from high school, from his father. Mr. Franks, of course, ultimately

seeks a sentence sufficient, but not greater than necessary, to serve the purposes of
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sentencing under 18 U.S.C. § 3553(a). Such a sentence can likely be found in

something along the lines of what Mr. Garbin received. A counseled, stabilized,

educated Kaleb can leave custody ready to once again rebuild his life in positive ways,

with positive support. The government itself has asked that Kaleb’s sentence reflect

his “part in bringing the conspirators to justice.” RE. 764: Gov. Sent. Memo, PageID

# 10075. When one considers prison violence against cooperators, the violence of

extremist groups, and the fortitude it took for Kaleb to come forward as he did, such

a sentence need not be lengthy—Kaleb has already paid, and will continue to pay, for

his offense in innumerable ways, and the risks inherent in his cooperation only add

to that payment.

                                       Respectfully submitted,

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